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              EXHIBIT B
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                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 56504642
                                                                                                            By: Kevin Childs
                                                                                                Filed: 8/20/2021 11:47 AM

                                     CAUSE NO. 2021-48421

 ANTHONY JONES                                 §                    IN THE DISTRICT COURT
 Plaintiff                                     §
                                               §
 vs.                                           §                    HARRIS COUNTY, TEXAS
                                               §
KROGER TEXAS, LP                               §
Defendant.                                     §                    165TH JUDICIAL DISTRICT

                        DEFENDANT KROGER TEXAS L.P.’S
               ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION

         COMES NOW Defendant Kroger Texas L.P., incorrectly named as Kroger Texas, LP

(“Defendant”), in the above-entitled and numbered cause and files this Original Answer to Plaintiff

Anthony Jones’ (“Plaintiff”) Original Petition and would respectfully show unto the Court as

follows:

                                      ORIGINAL ANSWER

                                                    I.

         Defendant enters a general denial of all matters pleaded by Plaintiff and requests the Court

to require Plaintiff to prove his charges and allegations by a preponderance of the evidence as

required by the Constitution and the laws of the State of Texas.

                                                   II.

         Defendant respectfully reserves the right at this time to amend this Original Answer to

Plaintiff’s allegations after it has had the opportunity to more closely investigate these claims, as

is its right and privilege under the Texas Rules of Civil Procedure and the laws of the State of

Texas.

                                                   III.

         Defendant pleads the defenses to, and limitations on, punitive damages set out in Chapter

41 of the Texas Civil Practice & Remedies Code. Defendant asserts that the imposition of the
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punitive damages sought by Plaintiff would violate Defendant’s rights under the United States and

Texas Constitutions, as more particularly set forth below:

       An award of punitive damages would violate Defendant’s right to due process and to equal

protection as guaranteed by the Fourteenth Amendment to the United States Constitution and

Article I, § 19 to the Texas Constitution:

       a.      No provision of Texas law provides any adequate or meaningful standard or guide
               for fixing or determining or reviewing the amount of any award of punitive
               damages. Defendant has had no notice of or means of ascertaining the amount of
               the penalty he would or might be subject to for the conduct upon which the award
               ostensibly is to be based;

       b.      Under the laws of the State of Texas, the determination of whether to award
               punitive damages is left to the arbitrary discretion of the trier of fact; there is no
               adequate or meaningful standard or guide for exercising that discretion;

       c.      No provision of Texas law provides any adequate or meaningful standard or guide
               for determining the nature of the conduct upon which an award of punitive damages
               may be based. Defendant has had no notice of, or means of ascertaining, the nature
               of the conduct for which it might be held subject to a punitive damage award;

       d.      No provision of Texas law provides adequate procedural safeguards, consistent
               with the criteria of Mathews v. Eldridge, 424 U.S. 319 (1976) for the imposition of
               an award of punitive damages;

       e.      Due process requires, at a minimum, that punitive damages be awarded only upon
               clear and convincing evidence, and the law of the State of Texas provides for no
               such standard; and

       f.      The very concept of punitive damages, whereby an award is made to a private
               Plaintiff not by way of compensation, but by way of a windfall incident to punishing
               a Defendant, represents the taking of property without due process. A punitive
               damage award would violate the prohibition against excessive fines contained in
               the Eighth Amendment to the United States Constitution, as embodied in the Due
               Process Clause of the Fourteenth Amendment to that Constitution, and Article I, §
               19 of the Texas Constitution. See BMW of North America, Inc. v. Gore, 517 U.S.
               559 (1996).




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                                             IV.
                                        JURY REQUEST

       Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Defendant requests a jury, and

the appropriate fee is being filed along with this Answer.

                                              V.
                                            PRAYER

       Defendant Kroger Texas L.P. respectfully prays that upon final hearing, judgment be

entered that Plaintiff take nothing, that Defendant be discharged with its costs, and for such other

relief to which Defendant may show itself justly entitled.

                                              Respectfully submitted,

                                              BAKER • WOTRING LLP

                                              /s/ Earnest W. Wotring
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                                              KROGER TEXAS L.P.




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and complete copy of the foregoing was served
on the following on August 20, 2021.

       Jeffrey N. Todd
       The Todd Law Group, PLLC
       12929 Gulf Freeway, Suite 301
       Houston, Texas 77034
       jeff@jefftoddlaw.com

                                             /s/ Kimberly Dang
                                             Kimberly Dang




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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
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on the date and to the persons listed below. The rules governing
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certificate of service that complies with all applicable rules.

Kimberly Dang on behalf of Kimberly Dang
Bar No. 24116246
kdang@bakerwotring.com
Envelope ID: 56504642
Status as of 8/20/2021 11:55 AM CST

Case Contacts

Name                BarNumber Email                         TimestampSubmitted   Status

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